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October 9, 2020

Honorable Nancy Joseph, Magistrate Judge
United States Federal Court (E.D., Wis.)
517 E. Wisconsin Ave.,
Milwaukee, WI 53202

           Re:      Dragonwood Conservancy, Inc., et. al., v. Felician, et. al.
                    Case No. 16-CV-534
                    *request for phone conference

Dear Magistrate Joseph:

     I represent Plaintiffs herein. This case is scheduled for two-week jury commencing
December 14, 2020; and we are approaching final pretrial deadlines.

        This case was formally “bifurcated” back in mid-2017, where Defendants were to file
motions based upon “known legal defenses” -including those claiming qualified immunity- prior
to the parties proceeding with discovery. [EDoc 20, pp 2-3 of 4]. Defendants proceeded to file
two summary judgment motions (which were ruled upon by Judge Jones in 2019).

        Defendants have now filed a third motion for summary judgment seeking qualified
immunity, now claiming that “new” discovery allows them to do so. However, all “new”
discovery has pertained to Plaintiffs’ case-in-chief, and is not cited anywhere in the Defendants’
recent filings.

        I am preparing a Motion To Strike and For Award of Costs, as the new filing simply
regurgitates Defendant’s twice-denied, summary judgment motions. 1 This is the exact scenario
I raised during our last phone conference [8/12/20]. I believe the Court agreed with my
concerns2: Defendants cannot be allowed to re-litigate qualified immunity at the 11th hour of this
malingering case, given the record before the Court.


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   With one caveat: Defendants now seek summary judgment on the Plaintiffs’ claims for damage to the 17th
Street property, because Jane Flint holds title thereto [E-Doc 109 @pp23-25 of 25]. That motion has not been
previously heard. Accordingly Plaintiffs will prepare a response to that part.

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    I have ordered the transcript of our last phone conference, for the Court’s convenience.



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        I write today because my Motion To Strike will complicate briefing calendars, amongst
others. I respectfully request a phone conference with the Court at its earliest convenience, for
further guidance and orders in these regards.

        Final Note: the ‘rub’ here is that this Court cannot simply deny Defendants’ newest
Summary Judgment Motion: any denial now could be used to resurrect/bootstrap appellate
jurisdiction over the qualified immunity issue (where Defendants waived appellate jurisdiction
long ago, by their failure to appeal either of Judge Jones’ rulings in 2019).

       I truly appreciate Your Honor’s time, concern, and courtesies.


       Very Truly Yours,
       /s/ Mark P. Murphy
       Attorney Mark P. Murphy
       Plaintiffs’ Attorney




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